                               UNITED STATES DISTRICT COURT
                                           for the
                            EASTERN DISTRICT OF NORTH CAROLINA

U.S.A. vs. Emmanuel Lee Dunkins                                              Docket No. 5:20-CR-134-lD

                               Petition for Action on Supervised Release

COMES NOW Peter J. Yalango, U.S. Probation Officer of the court, presenting a petition for modification
of the Judgment and Commitment Order of Emmanuel Lee Dunkins, who, upon an earlier plea of guilty to
18 U.S.C. § 922(n) and 18 U.S.C. § 924(a)(l)(D), Receipt of a Firearm While Under Felony Indictment,
was sentenced by the Honorable James C. Dever III, U.S. District Judge, on September 9, 2020, to the
custody of the Bureau of Prisons for a term of 15 months. It was further ordered that upon release from
imprisonment the defendant be placed on supervised release for a period of 36 months.

Emmanuel Lee Dunkins was released from custody on April 21, 2021, at which time the term of supervised
release commenced.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

The defendant was cited for Simple Possession of Schedule VI CS (M) in Vance County, NC, on October
2, 2021. The defendant submitted a urinalysis sample which tested positive for marijuana on October 7,
2021. The defendant admitted to using marijuana on October 2, 2021.

The defendant agreed to complete 10 hours of community service as a sanction for his new criminal conduct.
The defendant has been referred back to Daymark Recovery Services for substance abuse counseling. The
defendant's substance use will continue to be monitored through the Surprise Urinalysis Program. The court
will be notified of any future violations of his supervision.

The defendant signed a Waiver of Hearing agreeing to the proposed modification of supervision.

PRAYING THAT THE COURT WILL ORDER that supervised release be modified as follows:

    1. The defendant shall perform 10 hours of community service as directed by the probation office and
       if referred for placement and monitoring by the State of North Carolina, pay the required fee.

Except as herein modified, the judgment shall remain in full force and effect.

Reviewed and approved,                                I declare under penalty of perjury that the foregoing
                                                      is true and correct.


Isl Julie W. Rosa                                    Isl Peter J. Yalango
Julie W. Rosa                                        Peter J. Yalango
Supervising U.S. Probation Officer                   U.S. Probation Officer
                                                     310 New Bern A venue, Room 610
                                                     Raleigh, NC 27601-1441
                                                     Phone: 910-354-2546
                                                     Executed On: October 13, 2021




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                                              ORDER OF THE COURT

Considered and ordered this      J4      day of _ _,Q__,L.-=..,_f-n---=b"'-='---'•.-------'' 2021, and ordered filed and
made a part of the records in the above case.


Jame~Dever III
U.S. District Judge




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